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 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-210 GEB
12                                Plaintiff,            STIPULATION REGARDING MOVING
                                                        JUDGMENT AND SENTENCING HEARING;
13                          v.                          [PROPOSED] ORDER
14   JAGPAL SINGH,                                      DATE: July 12, 2019
                                                        TIME: 9:00 a.m.
15                               Defendant.             COURT: Hon. Garland E. Burrell, Jr.
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17                                              STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, Jagpal
19 Singh, by and through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for judgment and sentencing on Friday, July 12,
21 2019, at 9:00 a.m.

22          2.      By this stipulation, the parties now move to continue the defendant Jagpal Singh’s
23 judgment and sentencing hearing to Friday, November 15, 2019, at 9:00 a.m.

24          3.      The parties do not seek to reset any other dates because the PSR process has already been
25 completed.

26          IT IS SO STIPULATED.
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      STIPULATION REGARDING MOVING JUDGMENT AND         1
30    SENTENCING HEARING; [PROPOSED] ORDER
             Case 2:17-cr-00210-TLN Document 85 Filed 07/08/19 Page 2 of 2


 1   Dated: July 5, 2019                               MCGREGOR W. SCOTT
                                                       United States Attorney
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 3                                                     /s/ ROSANNE L. RUST
                                                       ROSANNE L. RUST
 4                                                     Assistant United States Attorney
 5

 6   Dated: July 5, 2019                               /s/ I. MARK BLEDSTEIN
                                                       I. MARK BLEDSTEIN
 7
                                                       Counsel for Defendant
 8                                                     JAGPAL SINGH

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11                                               ORDER

12         JUDGMENT AND SENTENCING HEARING FOR JAGPAL SINGH IS NOW SCHEDULED

13 FOR NOVEMBER 15, 2019. IT IS SO ORDERED.

14         Dated: July 8, 2019

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     STIPULATION REGARDING MOVING JUDGMENT AND     2
30   SENTENCING HEARING; [PROPOSED] ORDER
